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8                                 UNITED STATES DISTRICT COURT

9                               SOUTHERN DISTRICT OF CALIFORNIA

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                                                           Case No.: 19CV2406-DMS (BLM)
11    ROBERT MOORE,

12                                        Plaintiff,       ORDER GRANTING DEFENDANTS’ EX
                                                           PARTE APPLICATION TO TAKE THE
13    v.                                                   DEPOSITION OF PLAINTIFF, AN
                                                           INCARCERATED PERSON
14    JOE LANKFORD, MERCEDES ARELLANO, R.
      BUCKEL, AND DAVID STRUMSKI,
15                                                         [ECF No. 34]
                                      Defendants.
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19         On December 29, 2020, Defendants filed an Ex Parte Application to Take the Deposition

20   of Plaintiff, An Incarcerated Person. ECF No. 34. Defendants seek an order permitting them to

21   take “the deposition of Plaintiff Robert Moore, CDCR No. H23858, an inmate in the custody of

22   the California Department of Corrections and Rehabilitation (CDCR), to be scheduled by

23   Defendants upon reasonable notice” and “by remote means with the court reporter and counsel

24   in different locations from the deponent under Federal Rule of Civil Procedure 30(b)(4)if they

25   choose.” Id. at 2; see also ECF No. 30-1 at ¶ 4. In support, Defendants state that the request

26   is made in accordance with Federal Rules of Civil Procedure 30(a)(2)(B) and that “[t]here are

27   no factors that would prevent Defendants from deposing Plaintiff.” Id.

28         Good cause appearing, Defendants’ motion is GRANTED.            Defendants may depose

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                                                                                 19cv2406-DMS (BLM)
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1    Plaintiff Robert Moore, CDCR No. H23858 in accordance with the Federal Rules of Civil Procedure

2    and the institution’s rules and regulations, including the presence of correctional officers during

3    the deposition, and may take the deposition by remote means with the court reporter and

4    counsel in different locations from the deponent if they choose.

5           IT IS SO ORDERED.

6     Dated: 12/30/2020

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